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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 OFF-WHITE LLC,

 Plaintiff                                             20-cv-1731 (GHW)

 v.

 AAPE18, AAPEE01, ADONIS11, AMANDA22,            FINAL DEFAULT JUDGMENT
 ANNAWU163,       APPIE30031,     ASDLUNA,           AND PERMANENT
 BALABALA0, BANANA3003, BANANA30035,                INJUNCTION ORDER
 BANANA30038,     BAOQIN111,     BAOQIN333,
 BAOQIN888, BAOQIN999, BAPE135, BARAKU,
 BARBEE,    BESTCHEAP_SHOES,       BORAKU,
 BRAND_666,         BRANDCLOTHINGSELLER,
 CHAOJIHAOMAIJIA, CHERRY616, CHOUES,
 CNGARMENT, COCKAGAXNQGER, CONVERSE_,
 CORE3003, CXF8305, CXZ208, DESIGNERSHOP1,
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DESIGNERSHOP1111,          DESIGNERSHOP2004,
DGG_01, DGG_02, DGG_03, DSG525, DSQ257,
DUNHUANGWANG518, EEE004, EEE005, ET002,
ET008,                FASHION_CLOTHING123,
FASHIONMARK0,                        FENDII003,
FENGFENGYUYU168,         FFF885,    FZM123456,
GABANA,            GK007,          HAHAPOINT,
HAOSHENGYIDIANPU,                   HITALK520,
HONGHONG1, HZ988, HZZM889, JIA005, JIA006,
JLK006,    JIK007,    JINBAOSHANGCHANG88,
JINYINGUAN123,                 JINYINGUAN666,
JINYINGUAN966,                 JINYINGUAN999,
JIUYUNDANGTOU, JORDANJAMES, JUICERUN,
KENGQIANGMEIGUI88, KING_RUNINGSHOES,
KK20180, KT003, KT006, LEMONNN, LIBO06,
LIBO07, LIC001, LII004, LII005, LIK006, LLK002,
LIK008, LINJUN04, LINYIMIN0813, LIYONG666,
LONGWAY001,                  LOUISVUITTON02,
LUCKYSELLERS2,             LUNGFISHCANDICE,
LUXURYBRAND1,           MANBUYUNDUANA996,
MATTIA, MEET0001, MEMORIES7, MG002,
MG003, MILE123, MILK956, MONCLER01,
MONSTER777, MORE_ORDER, NANMING003,
NANMING005,            NEWFASHIONSELLER06,
NEWMAN188,                    NIKETIDEBRAND,
NORTH_STONE,                  NORTH_STONE10,
NORTH_STONE13,       OFF_1,     OFF_2,   OFF_3,
OFFMINGHAI,          PALACE_01,          PJS005,
PRETTYSILENCE, QIANWAN01, QIANWAN345,
QIANWAN456, QIANWAN567, QIUYESASA558,
SATURDAY_STORE,                        SHEN188,
SPORT_ONLINE_SHOP,           SUMMERTANTAN,
SUPERCOMMANDOZ,             SUPREME_SELLER3,
THESCORPIO, TREND123, VARITYSTORE123,
WANNERGARMENT,                    WANQING001,
XIYANGYANG2020,              YEEZY350BOOT01,
YIGEYI2020,    YIJIAFUCHAOSHI886,        YITOP,
ZHENMINGTIANDI          and      ZUNXIANG999,

Defendants
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                                         GLOSSARY

Term                                       Definition                           Docket Entry
                                                                                  Number
Plaintiff or Off-   Off-White LLC                                                   N/A
White
Defendants or       Aape18, Aapee01, adonis11, Amanda22, annawu163,                 N/A
Defaulting          Appie30031, Asdluna, Balabala0, Banana3003,
Defendants          Banana30035, Banana30038, Baoqin111, baoqin333,
                    Baoqin888, Baoqin999, bape135, Baraku, barbee,
                    Bestcheap_shoes,            boraku,           Brand_666,
                    brandclothingseller,     chaojihaomaijia,     Cherry616,
                    choues, Cngarment, Cockagaxnqger, Converse_,
                    Core3003,     Cxf8305,       Cxz208,      Designershop1,
                    Designershop1111,        Designershop2004,       dgg_01,
                    Dgg_02,         Dgg_03,          Dsg525,          dsq257,
                    Dunhuangwang518, Eee004, Eee005, Et002, Et008,
                    Fashion_clothing123,       Fashionmark0,       Fendii003,
                    fengfengyuyu168, Fff885, Fzm123456, Gabana,
                    Gk007, Hahapoint, Haoshengyidianpu, Hitalk520,
                    Honghong1, Hz988, Hzzm889, Jia005, Jia006, jlk006,
                    JIk007,     jinbaoshangchang88,           Jinyinguan123,
                    jinyinguan666,       jinyinguan966,       jinyinguan999,
                    Jiuyundangtou,           Jordanjames,           Juicerun,
                    Kengqiangmeigui88, King_runingshoes, Kk20180,
                    Kt003, Kt006, Lemonnn, Libo06, Libo07, LIc001,
                    LII004, LII005, LIk006, Llk002, LIk008, linjun04,
                    linyimin0813,          Liyong666,           Longway001,
                    Louisvuitton02,      luckysellers2,    Lungfishcandice,
                    luxurybrand1, manbuyunduana996, mattia, Meet0001,
                    Memories7, Mg002, Mg003, Mile123, Milk956,
                    Moncler01, Monster777, more_order, Nanming003,
                    Nanming005,       Newfashionseller06,        newman188,
                    Niketidebrand,        North_stone,        north_stone10,
                    north_stone13, Off_1, Off_2, Off_3, Offminghai,
                    Palace_01,     Pjs005,     Prettysilence,     qianwan01,
                    Qianwan345, qianwan456, Qianwan567, qiuyesasa558,
                    Saturday_store,       Shen188,       Sport_online_shop,
                    Summertantan, supercommandoz, Supreme_seller3,
                    Thescorpio,           Trend123,           Varitystore123,
                    Wannergarment,        wanqing001,      xiyangyang2020,
                    Yeezy350boot01, Yigeyi2020, yijiafuchaoshi886,
                    Yitop, zhenmingtiandi and zunxiang999
DHgate              Dunhuang Group d/b/a DHgate.com, an online                      N/A
                    marketplace and e-commerce platform which allows
                    manufacturers, wholesalers and other third-party

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                  merchants, like Defendants, to advertise, distribute,
                  offer for sale, sell and ship their wholesale and retail
                  products originating from China directly to consumers
                  worldwide and specifically to consumers residing in the
                  U.S., including New York
Sealing Order     Order to Seal File entered on February 27, 2020                 Dkt. 1
Complaint         Plaintiff’s Complaint filed on February 27, 2020               Dkt. 24
Application       Plaintiff’s Ex Parte Application for: 1) a temporary        Dkts. 22, 28-31
                  restraining order; 2) an order restraining Merchant
                  Storefronts (as defined infra) and Defendants’ Assets
                  (as defined infra) with the Financial Institutions (as
                  defined infra); 3) an order to show cause why a
                  preliminary injunction should not issue; 4) an order
                  authorizing bifurcated and alternative service and 5) an
                  order authorizing expedited discovery filed on February
                  27, 2020
Abloh Dec.        Declaration of Virgil Abloh in Support of Plaintiff’s          Dkt. 29
                  Application
Scully Dec.       Declaration of Brieanne Scully in Support of Plaintiff’s       Dkt. 30
                  Application
TRO               1) Temporary Restraining Order; 2) Order Restraining            Dkt. 6
                  Merchant Storefronts and Defendants’ Assets with the
                  Financial Institutions; 3) Order to Show Cause Why a
                  Preliminary Injunction Should Not Issue; 4) Order
                  Authorizing Bifurcated and Alternative Service; and 5)
                  Order Authorizing Expedited Discovery entered on May
                  4, 2020
PI Show Cause     May 18, 2020 hearing to show cause why a preliminary             N/A
Hearing           injunction should not issue
PI Order          May 19, 2020 Preliminary Injunction Order                       Dkt. 5
User Account(s)   Any and all websites and any and all accounts with               N/A
                  online marketplace platforms such as DHgate, as well as
                  any and all as yet undiscovered accounts with additional
                  online marketplace platforms held by or associated with
                  Defendants, their respective officers, employees,
                  agents, servants and all persons in active concert or
                  participation with any of them
Merchant          Any and all User Accounts through which Defendants,              N/A
Storefronts       their respective officers, employees, agents, servants
                  and all persons in active concert or participation with
                  any of them operate storefronts to manufacture, import,
                  export, advertise, market, promote, distribute, display,
                  offer for sale, sell and/or otherwise deal in Counterfeit
                  Products, which are held by or associated with
                  Defendants, their respective officers, employees,

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                agents, servants and all persons in active concert or
                participation with any of them
Off-White       A high-end line of men’s and women's apparel, as well         N/A
Products        as shoes, accessories, jewelry, and other ready-made
                goods, marketed under the Off-White Brand (defined
                infra)
Off-White       The trademarks, Off-White™ and Off- White c/o Virgil          N/A
Brand           Abloh™, used to market the Off-White Products
Off-White       U.S. Trademark Registration Nos.: 5,119,602 for “OFF          N/A
Registrations   WHITE” for a variety of goods in Class 25 with a
                constructive date of first use of January 25, 2012,
                5,713,397 for “OFF-WHITE” for a variety of goods in
                Class 25, 5,710,328 for “OFF-WHITE C/O VIRGIL
                ABLOH” for a variety of goods in Class 9, 5,572,836
                for “OFF-WHITE C/O VIRGIL ABLOH” for a variety
                of goods in Class 25, 5, 710,287 for “OFF-WHITE C/O
                VIRGIL ABLOH” for a variety of goods in Class 14,

                5,150,712 for        for a variety of goods in Class 18

                and 25, 5, 710,288 for           for a variety of goods in



                Class 14, 5,307,806 for         for a variety of goods in


                Class 18 and 25, 5,835,552 for            for a variety of


                goods in Class 9, 5,387,983 for           for a variety of


                goods in Class 25, 5,445,222 for           for a variety of


                goods in Class 25, 5,800414 for           for a variety of

                goods in Class 9 and 25, 5,681,805 for               for a


                variety of goods in Class 9 and 5,663,133 for
                for a variety of goods in Class 25




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Off-White       U.S. Trademark Serial Application Nos.: 88/080,002 for      N/A
Applications
                     , for a variety of goods in Class 25 and 88/041,456


                for       , for a variety of goods in Class 18 and Class
                25
Off-White       The marks covered by the Off-White Registrations and        N/A
Marks           the Off-White Applications
Counterfeit     Products bearing or used in connection with the Off-        N/A
Products        White Marks, and/or products in packaging and/or
                containing labels bearing the Off-White Marks, and/or
                bearing or used in connection with marks that are
                confusingly similar to the Off-White Marks and/or
                products that are identical or confusingly similar to the
                Off-White Products
Defendants’     Any and all money, securities or other property or assets   N/A
Assets          of Defendants (whether said assets are located in the
                U.S. or abroad)
Defendants’     Any and all financial accounts associated with or           N/A
Financial       utilized by any Defendants or any Defendants’ User
Accounts        Accounts or Merchant Storefront(s) (whether said
                account is located in the U.S. or abroad)
Financial       Any and all banks, financial institutions, credit card      N/A
Institutions    companies and payment processing agencies, such as
                DHgate (e.g., DHpay.com), PayPal Inc. (“PayPal”),
                Payoneer Inc. (“Payoneer”) and PingPong Global
                Solutions, Inc. (“PingPong”) and other companies or
                agencies that engage in the processing or transfer of
                money and/or real or personal property of Defendants
Third Party     Online platforms, including, without limitation, those      N/A
Service         owned and operated, directly or indirectly by DHgate,
Providers       as well as any and all as yet undiscovered online
                marketplace platforms and/or entities through which
                Defendants, their respective officers, employees,
                agents, servants and all persons in active concert or
                participation with any of them manufacture, import,
                export, advertise, market, promote, distribute, offer for
                sale, sell and/or otherwise deal in Counterfeit Products
                which are hereinafter identified as a result of any order
                entered in this action, or otherwise
Plaintiff’s     Plaintiff’s Application for an Order to Show Cause Why      TBD
Motion for      Default Judgment and a Permanent Injunction should
Default         not be entered Against Defaulting Defendants filed on
Judgment        August 13, 2020

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Scully Aff.     Affidavit by Brieanne Scully in Support of Plaintiff’s   TBD
                Motion for Default Judgment




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       This matter comes before the Court by motion filed by Plaintiff for the entry of final

judgment and permanent injunction by default against Defaulting Defendants for Defaulting

Defendants’ trademark infringement, trademark counterfeiting, false designation of origin, passing

off and unfair competition and related state and common law claims arising out of Defaulting

Defendants’ unauthorized use of Plaintiff’s Off-White Marks, without limitation, in their

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying

or offering for sale and/or selling and/or sale of Counterfeit Products.

       The Court, having considered the Memorandum of Law and Affidavit of Brieanne Scully

in support of Plaintiff’s Motion for Default Judgment and a Permanent Injunction Against

Defaulting Defendants, the Certificates of Service of the Summons and Complaint, the Certificate

of the Clerk of the Court stating that no answer has been filed in the instant action, and upon all

other pleadings and papers on file in this action, it is hereby ORDERED, ADJUDGED AND

DECREED as follows:

                             I.   Defaulting Defendants’ Liability

1) Judgment is granted in favor of Plaintiff on all claims properly plead against Defaulting

   Defendants in the Complaint;

                                    II.   Damages Awards

1) IT IS FURTHER ORDERED, ADJUDGED AND DECREED, that because it would serve

   both the compensatory and punitive purposes of the Lanham Act’s prohibitions on willful

   infringement, and because Plaintiff has sufficiently set forth the basis for the statutory damages

   award requested in its Memorandum of Law in Support of its Motion for Default Judgment,

   the Court finds such an award to be reasonable and Plaintiff is awarded $50,000.000 in

   statutory damages (“Individual Damages Award”) against each and every Defaulting



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  Defendant (a total of One Hundred Forty-One (141) Defaulting Defendants) pursuant to 15

  U.S.C. § 1117(c) of the Lanham Act for a total of Seven Million Fifty Thousand Dollars

  ($7,050,000.00), plus post-judgment interest.


                                  III.   Permanent Injunction

1) IT IS FURTHER ORDERED, ADJUDGED AND DECREED, that Defaulting Defendants,

  their respective officers, agents, servants, employees, successors and assigns and all persons

  acting in concert with or under the direction of Defaulting Defendants (regardless of whether

  located in the United States or abroad), who receive actual notice of this Order are permanently

  enjoined and restrained from:

     A. manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

         displaying, offering for sale, selling and/or otherwise dealing in Counterfeit Products

         or any other products bearing the Off-White Marks and/or marks that are confusingly

         similar to, identical to and constitute a counterfeiting and/or infringement of the Off-

         White Marks;

     B. infringing in any manner Plaintiff’s Off-White Marks;

     C. using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s Off-

         White Marks to identify any goods or services not authorized by Plaintiff;

     D. using Plaintiff’s Off-White Marks, or any other marks that are confusingly similar to

         the Off-White Marks on or in connection with the manufacturing, importing, exporting,

         advertising, marketing, promoting, distributing, displaying, offering for sale, selling

         and/or otherwise dealing in the Counterfeit Products;

     E. using any false designation of origin or false description, or engaging in any action

         which is likely to cause confusion, cause mistake and/or to deceive members of the


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           trade and/or the public as to the affiliation, connection or association of any product

           manufactured, imported, exported, advertised, marketed, promoted, distributed,

           displayed, offered for sale or sold by Defaulting Defendants with Plaintiff, and/or as to

           the origin, sponsorship or approval of any product manufactured, imported, exported,

           advertised, marketed, promoted, distributed, displayed, offered for sale or sold by

           Defaulting Defendants and Defaulting Defendants’ commercial activities by Plaintiff;

           and

       F. secreting, concealing, destroying, altering, selling off, transferring or otherwise

           disposing of and/or dealing with: (i) Counterfeit Products; (ii) any computer files, data,

           business records, documents or any other records or evidence relating to:

                 i. Defaulting Defendants’ User Accounts and/or Merchant Storefronts;

                 ii. Defaulting Defendants’ Assets; and

                 iii. the manufacture, importation, exportation, advertising, marketing, promotion,

                    distribution, display, offering for sale and/or sale of Counterfeit Products by

                    Defaulting Defendants and by their respective officers, employees, agents,

                    servants and all persons in active concert or participation with any of them.

2)   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defaulting Defendants

     must deliver up for destruction to Plaintiff any and all Counterfeit Products and any and all

     packaging, labels, tags, advertising and promotional materials and any other materials in the

     possession, custody or control of Defaulting Defendants that infringe Plaintiff’s Off-White

     Marks or bear any marks that are confusingly similar to the Off-White Marks pursuant to 15

     U.S.C. § 1118;




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3)    IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Third Party Service

      Providers and Financial Institutions are enjoined and restrained from taking any of the

      following actions prior to November 15, 2020:

         A. secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying

             any of the Defaulting Defendants’ Frozen Assets from or to Defaulting Defendants’

             Financial Accounts; or

         B. secreting, concealing, destroying, altering, selling off, transferring or otherwise

             disposing of and/or dealing with any computer files, data, business records, documents

             or any other records or evidence relating to Defaulting Defendants’ Frozen Assets and

            Defaulting Defendants’ Financial Accounts.
         IV. Order Authorizing Continued Alternative Service by Electronic Means

1) IT IS FURTHER ORDERED, as sufficient cause has been shown, that such alternative service

     by electronic means that was ordered in the TRO and PI Order, shall be deemed effective as to

     Defendants, Financial Institutions and Third Party Service Providers through the pendency of

     this action.

                         V.    Temporary Continuance of Asset Restraint

1) In accordance with Rule 69 of the Federal Rules of Civil Procedure and Section 5222 of New

     York State’s Civil Practice Law and Rules (“CPLR”), and this Court’s inherent equitable

     power to issue remedies ancillary to its authority to provide final relief, the Defendants are

     forbidden to make or suffer any sale, assignment, transfer or interference with any property in

     which they have an interest, except as set forth in subdivisions (h) and (i) of Section 5222 of

     the CPLR, for a thirty (30) day period after the entry of this Order.




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                                   VI.     Miscellaneous Relief

2) Defaulting Defendants may, upon proper showing and two (2) business days written notice to

   the Court and Plaintiff’s counsel, appear and move for dissolution or modification of the

   provisions of this Order concerning the restriction or restraint of Defaulting Defendants’

   Frozen Assets, Defaulting Defendants’ Additional Assets and/or Defaulting Defendants’

   Additional Financial Accounts;

3) Any failure by Defaulting Defendants to comply with the terms of this Order may be deemed

   contempt of Court, subjecting Defaulting Defendants to contempt remedies to be determined

   by the Court, including fines and seizure of property;

4) The Court releases the Twenty Five Thousand U.S. Dollar ($25,000.00) security bond that

   Plaintiff submitted in connection with this action to counsel for Plaintiff, Epstein Drangel,

   LLP, 60 East 42nd Street, Suite 2520, New York, NY 10165; and

5) This Court shall retain jurisdiction over this matter and the parties in order to construe and

   enforce this Order.

                                    VII.     CONCLUSION

       The Clerk of Court is directed to enter judgment in favor of Plaintiff, terminate all pending

motions, adjourn all remaining deadlines, and to close this case.




SO ORDERED.

SIGNED this ____          October
            19th day of ____________,                   p
                                      2020, at __9:50____.m.


                                                     _________________________________
                                                     HON. GREGORY H. WOODS
                                                     UNITED STATES DISTRICT JUDGE



                                                 5
